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                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND


              CASA, INC. et al.,

                               Plaintiffs,

                      v.
                                                                        Case No.: ____________________
              DONALD J. TRUMP et al.,

                               Defendants.




                                                DECLARATION OF MONICA


                     I, Monica, submit this declaration pursuant to 28 U.S.C. § 1746 and declare under penalties

            of perjury as follows:

                     1.      I am a member of the Asylum Seeker Advocacy Project (“ASAP”) and I joined

            the organization voluntarily.

                     2.      I am currently living in South Carolina.

                     3.      I am pregnant and due in August of 2025.

                     4.      My partner and I are both originally from Venezuela, and we both have

            Temporary Protected Status (TPS) as well as a pending affirmative asylum application with

            USCIS.

                     5.      We have been in the United States since 2019.

                     6.      I am a trained medical doctor who is seeking to validate my medical degree in the

            United States.
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                      7.     I am worried that it would be next to impossible to get my child Venezuelan

            citizenship even if I tried. There is no Venezuelan Consulate in the United States where I could

            even apply for Venezuelan citizenship for my baby, and we would have to travel outside of the

            U.S. in order to obtain a Venezuelan passport for our child. Since we are asylum seekers, we are

            not able to travel outside of the U.S.

                      8.     Because I do not believe my child will be able to receive Venezuelan citizenship,

            both my partner and I want to get our child a U.S. passport and proof of U.S. citizenship as soon

            as possible, but now we are worried our child will not be able to receive U.S. citizenship either.

                      9.     If that happens, we are very concerned that our child will not be a citizen of any

            country and will be stateless.

                      10.    We are afraid that the government will retaliate against us if our full names are

            publicly disclosed in this lawsuit because we are suing the government directly. We have

            pending asylum applications and do not want this lawsuit to affect the decision in our asylum

            claims.

                      11.    We also want to protect the privacy of our baby who has not been born yet. We

            don’t want information about them to be made public before they are even born, and want to

            make sure we as the parents are protecting their privacy throughout this entire process.



                      I hereby declare under penalty of perjury that the foregoing is true and correct.

                      Dated: January 21, 2025                           Respectfully submitted,


                                                                        __________________________
                                                                        Monica
